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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
UNITED STATES OF AMERICA,                              :
                                                       :   ORDER
v.                                                     :
                                                       :   20 CR 98-2 (VB)
MATTHEW COKE,                                          :
                  Defendant.                           :
------------------------------------------------------x

         Sentencing in this case is re-scheduled for April 1, 2021, at 2:30 p.m. The Court expects

to conduct this proceeding in person at the Hon. Charles L. Brieant, Jr., Courthouse, 300

Quarropas Street, White Plains, NY 10601.

         Per the SDNY COVID-19 Courthouse Entry Program, anyone who appears at any SDNY

courthouse must complete a questionnaire and have his or her temperature taken. The

questionnaire is located on the Court’s website at:

https://www.nysd.uscourts.gov/sites/default/files/2020-
09/SDNY%20COVID%20ENTRY%20QUESTIONNAIRE%20GUIDE%209-2-2020.pdf.

Completing the questionnaire online and ahead of time will save time and effort upon entry.

Only those individuals who meet the entry requirements established by the questionnaire will be

permitted entry. Please contact Chambers if you do not meet the requirements.

Dated: January 8, 2021
       White Plains, NY

                                                      SO ORDERED:



                                                      ____________________________
                                                      Vincent L. Briccetti
                                                      United States District Judge
